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                                               ORIGINAL                                     OOGAN, J.



      FILED
    IN CLERK'S OFFICE                                    MOORISH NATIONAL REPUBLIC
US DISTRICT COURT E.D.N.Y. MOORISH DIVINE AND NATIONAL MOVEMENT OF THE WORLD
                            Aboriginal and Indigenous Natural Peoples of North-West Amexem North America
★    F£3 0 1 2019 T«r                                                   In The
                                                            United States District Court
BROOKLYN OFFICE                                                For Missouri Republic
                                                                CLAIMANT


                        ManalTKulai-Bey, Ex Rel: Marvin David Whitt
                        an Authorized Representative, Natural Person,
                         In Propria Persona:
                        All Rights Reserved:
                        U.C.C. 1-207/ 1-308: U.C.C. I-I03
                        Not a Corporate Person or Entity, Misrepresented
                         by Fraudulent Construct of
                        ALL CAPITAL LETTERS
                        St. Louis Territory
                        [c/o 2 Bonnie ct.
                        [Florissant, Missouri [Zip Exempt]]
                        Northwest Amexem



                                VS.
                                                                    RESPONDENT(S)

                                CROWN CORK INC.
                                7100 West 21" Avenue
                                Gary,Indiana 46406
                                219-949-8080
                                219-994-9922
                                JEFF WALDROP(Manager for Crown Corr Inc. at that time)




                                                                     Jurisdiction

                        This action containing complaints for declaratory relief and for damages, is brought against the
                        RESPONDENTS to secure due process of law, equal protection and other rights, privileges and immunities
                        guaranteed to complainant by the Constitution / Treaty and laws ofthese United States Republic.

                        Jurisdiction of this court is invoked under The Zodiac Constitution C)AA222141 / Library of Congress,
                        Washington, District of Columbia, Constitution / Treaty and laws ofthe Unites States Republic.



                                                                        Venue


                                              Original Jurisdiction United States District Court ofNEW YORK

                                                                     CLAIMANT

                        I. ManatT Kulai-Bey, Ex Rel: Marvin David Whitt, a Natural Person, In Propria Persona Sui Juris (not to be
                        confused with, nor substituted by. Pro Se by unauthorized hand of another). I am Aboriginal Indigenous
                        Moorish-American: possessing Free-hold by Inheritance and Primogeniture Status: standing Squarely
                        Affirmed, aligned and bound to the Zodiac Constitution, with all due respect and honors given to the
                        Constitution for the United States Republic, North America: Being a descendant of Moroccans and born in
                        America: with the blood of the Ancient Moabites from the Land of Moab, who received permission from
                        the Pharaohs of Egypt to settle and inhabit North-West Africa / North Gate. The Moors are the founders and
                        are the true possessors of the present Moroccan Empire: with our Canaanite, Hittite and Amorite brethren,
                        who sojourned from the land of Canaan, seeking new homes. Our dominion and inhabitation e.xtended
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       from Northeast and Southwest Africa, across the Great Atlantis, even unto the present North, South and
       Central America and the Adjoining Islands - bound squarely affirmed to THE T^ATY OF PEACE AND
       FRIENDSHIP OF SEVENTEEN HUNDRED AND EIGHTY-SEVEN (1787) A.D. superseded by THE
       TREATY OF PEACE AND FRIENDSHIP OF EIGHTTEEN HUNDRED and THIRTY-SIX (1836) A.D.
       between             Morocco             and             the           United          States
       thttD;//www.vaIe.edu/lawwcb/avaIon/diplomacv/barbarv/barI866t.htm or at Bevines Law Book of
       Treaties') the same as displayed under Treaty Law, Obligations, Authority, as expressed in Article VI of the
       Constitution for the United States of America(Republic):




                           THE TREATY OF PEACE AND FRIENDSHIP OF 1836 A.D.
                                         Between Morocco and the United States


                                                             Article 20
       "If any of the Citizens of the United States, or anv Persons under their Protection, shall have any disputes
       with each other, the Consul shall decide between the Parties, and whenever the Consul shall require anv Aid
       or Assistance from our Government to enforce his decisions, it shall be immediately granted to him."


                                                         Article 21
       "If anv Citizen ofthe United States should kill or wound a Moor,or. on the contrary, if a Moor shall kill or
       wound a Citizen of the United States, the Law of the Country shall take place, and equal Justice shall be
       rendered, the Consul assisting at the Trial: and if anv Delinquent shall make his escape, the Consul shall not
       be answerable for him in anv manner whatever."




                                                           Defendants
       CROWN CORR INC.
       7100 West 21". Avenue
       Gary,Indiana 46406
      (219)949-8080
      JEFF WALDROP(Was employed with Crown Corr inc. at the time of incident)


                                                               Facts
       In support ofthis affidavit I state for the record:

           1. I stated for the record a contract between this CROWN CORR inc. company and I, ManafTKulai-
              Bey Ex Rel; Marvin David Whitt specifically agreeing that I would pay this fraudulently imposed
              TAXES or SOCIAL SECURITY has to be disclosed as this is the premise for this claim and
                 without it there can be no claims- All Law is Contractual.
           2. The 4''' amendment of the Constitution specifically states that "The right of the people to be secure
                 in their persons, houses, papers, and effects, against unreasonable search and seizures, shall not be
                 violated."
           3. The S"* amendment of the Constitution specifically states that "No person shall be deprived of life,
              liberty, or property, without due process of law."
           4. 18 use Sec. 242 and 42 USC Sec.1983 provides that: "Whoever, under color of any law, statue,
                 ordinance, regulation or custom willfully subjects any person in any state, territoiy, or district to the
                 deprivation of any rights, privileges, or immunities secured or protected by the Constitution or laws
                 ofthe United States, Shall be fined or imprisoned not more ten years or both." 42 USC Sec. further
                 provides that a violator "Shall be liable to the party injured in an action at LAW,suit in equity, or
                 other proper proceeding for redress."




                                                        Legal Claims
       Section 7 of Public Law 93-579 provides that:
           (Axi)It shall be unlawful for any Federal, state, or local government agency to deny to any individual any rights,
       benefits, or privileges protected by law because ofsuch individual refusal to disclose his social security account
       number.


       18 USC sec. 242 & 42 USC sec. 1983 provides that:
               Whoever, under color ofany LAW,statue, ordinance, regulation, or custom willfully subjects any person in any
       state, territory, or district to the deprivation ofany rights, privileges, or immunities secured or protected by the
       CONSTITUTION or laws ofthe United States, shall be fined under this title or imprisoned not more than ten years, or

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       both. 42 use sec. 1983 further provides that a violator shall be liable to the party injured in an action at law, suit in
       equity, or other proper proceeding for redress.

       42 use sec. 408 provides that: "Whoever discloses, uses, or compels the disclosure of the social security number of
       any person is in violation of the law ofthe United States, shall be guilty ofa felony and upon conviction thereofshall
       be fined under title 18 or be imprisoned for not more than five years, or both.

       All Law is contractual therefore in order for any claim to be made the contract must be produced. For JEFF
       WALDRON and CROWN CORR inc; is to imply that the Notice of voluntary participation regarding
       Social Security and the Tax program does not have to be honored, is a clear violation of my Constitutionally
       Secured Rights to Due Process of Law.

       The 5** Amendment required that all persons within the United States must be given due process ofthe law
       and equal protection ofthe law.

       "The Constitutionfor the United States ofAmerica binds alljudicial officers at Article 6, wherein it does
       say, "This Constitution and the Laws ofthe United States which shall be made in pursuance thereof and all
       Treaties made, or which shall be made under the authority ofthe United States, shall be the Supreme Law
       ofthe Land, and the Judges ofevery State shall be bound thereby, anything in the Constitution or laws of
       any state to the Contrary, not withstanding," see Clause 2." "The parties to the Compact of the United
       States Constitution further agreed that the enumeration in the Constitution ofcertain Rights shall not be
       construed to deny or disparage others retained by the People (Article 9 of the Bill of Rights to the
       Constitutionfor the United States)."

       As a Management official of Crown Corr. Inc, JEFF WALDRON'S refusal to honor the Notice of my lack
       of voluntary nature to this Social Security/ TAX programs is a violation of my rights. Which warrants
       redress in this law suit capacity.

       As a managing official of Crown Corr. Ind. who should be well versed in law, JEFF WALDRON
       committed fraud as he knowingly has been administering colorable management, and legal advice in a
       capacity which he does not have Jurisdiction, delegation of authority, or Judicial powers delegated from the
       legislature or supreme courts.

                                                            RELIEF

      1. The Enforcement of the following; The Divine Constitution and By-Laws of the Moorish Science
      Temple of America; The Moorish Nation of North America; Act VI: By Being Moorish American, you are
      Part and Parcel ofthis said government and Must Live the Life Accordingly; Article VI of the United States
      Constitution Republic / The Treaty of Peace and Friendship of EIGHTEEN HUNDRED and THIRTY-SIX
      (1836) A.D., Classifies Moorish Americans as Federal Citizens Possessing Freehold by Inheritance Status-
       Truth A-I. See Article 3, Section 2 of'The Constitution for the United States of America'.

       1)       I, Manaff Kuai-Bey, demand Due Process as protected by the Fourth (4"") and Fifth (5*)
       Amendments ofthe Constitution for the United States of America (Republic).

       2)      I, Manaff Kulai-Bey, demand this United States District Court to stop these abuses of the colorable
       authority by the Respondents as it pertain to this Claimant.

       3)        I, Manaff Kulai-Bey, demands criminal charges be found, and let them be placed upon the
       Respondents.

      4)      I, Manaff Kulai-Bey, demands this United States Federal court view this Claimant (in my Proper
      Person) as a Moorish American National (Natural Bom Federal Citizen of the Land) and not as a (brand)
      NEGRO, BLACKMAN (person), COLORED, AFRICAN-AMERICAN, or any other SLAVE TITLE or
      'nom de guerre' imposed upon me for misrepresentation 'Actions' or other acts of 'Misprision' that a
      misdirected society may "believe" to be true.

       5)         I, Manaff Kulai-Bey do not, under any condition or circumstance, by threat, duress, or coercion, waive any
       rights Inalienable or Secured by the Constitution or Treaty, and, hereby requests the United States District Court to
       fulfill their obligation to preserve the rights of this claimant(A Moorish Americans) and carry out their Judicial Duty
       in 'Good Faith' by ordering Respondents to be brought before the Law to answer for their criminal and unjust crimes.

       6)     All Agents, State and Federal Officials, Contractors (including CROWN CORR INC.) are to be
       informed of the Law ofthe Land (Constitution) and their obligation to uphold the same and to no longer be
       excused without action on the part of the Sheriff for violating the same. And to be made cognizance of the
       recompense of colorable actions on their part, by not adhering to the Law.

       7)     Any Respondent, Corporate or Natural; Involvements be found guilty in violation United States
       Republic Constitution, United States Code of Law, and in accord with the law is required by law to
       immediate recusal of his or her office.
       8)      Respondent JEFF WALDRON is being sued $150,000 for compensatory damages and $150,000 for
       punitive damages in his official capacity and private capacity.
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       9)      Responded CROWN CORR inc. is being sued $250,000 for compensatory damages and $250,000
       for punitive damages in its official capacity. Title 18 USC Sec. 242 give rise for action at suit. Thus
       CROWN CORR inc. is being sued $250,000 for compensatory damages and $250,000 for punitive damages
       in its official capacity. Also under title 42 USC Sec. 1983 CROWN CORR inc. is being sued $250,000 for
       compensatory damages and $250,000 for punitive damages in its ofTicial capacity. As well as under title 42
       USC Sec. 408, CROWN CORR inc is being sued $250,000 compensatoiy damages and $250,000 for
       punitive damages in its official capacity.

                     TRIAL BY JURY OF MY OWN PEERS WAS,AND IS, DEMANDED

       1 declare under the penalty of perjury under the law ofthe UNITED STATES CODES that the above is true
       and correct to the best of my knowledge and honorable intent.

       Respectfully submitted this 29th day ofOctober,2018 = 1438 M.C


                                                        I Am:
                                                        ManafTKulai-Bey, Ex Rel: Marvtl^David
                                                        Authorized Representative
                                                        Natural Person, In Propria Persona:
                                                        Alt Rights Reserved:
                                                       U.C.C. 1-207/1-308; U.C.C. 1-103
                                                        St. Louis Territory
                                                       [c/o 2 bonnie ct.]
                                                       [Florissant, Missouri [Zip Exempt]]
                                                       Northwest Amexem




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